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                                                                                          Brent W. Johnson
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                                             December 23, 2015




       Re:      Allen v. DFA, No. 5:09-CV-00230-cr, Joint Report to Court
                Regarding Settlement

Dear Judge Reiss:

       I have been authorized to write on behalf of all parties in the above-captioned matter. At
the September 29, 2015, hearing in this matter, the Court requested a “joint report” regarding
settlement within 90 days. The parties have signed a second amended settlement agreement.
The Dairy Farmer Subclasses will move for preliminary approval of that new settlement
agreement no later than January 15, 2016.

       Of the nine Subclass Representatives (represented as farms), six support the settlement
and three are opposed to it. Those three are the farms of (1) Jonathan & Claudia Haar, (2)
Richard Swantak, and (3) Ralph & Garret Sitts.

       If the Court would like to speak to counsel regarding this matter, all counsel will make
themselves available at the Court’s convenience.

                                                     Respectfully submitted,

                                                     Cohen Milstein Sellers & Toll PLLC

                                                     /s/ Brent W. Johnson
                                                     Brent W. Johnson


cc: All counsel of record by ECF filing




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